               Case 23-11131-TMH             Doc 1207        Filed 01/24/24       Page 1 of 1




                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11

AMYRIS, INC., et al.,                                                Case No. 23-11131 (TMH]

                                  Debtors. 1                         (Jointly Administered)


                        NOTICE OF FILING GIVADAUN TERM SHEET

         PLEASE TAKE NOTICE that attached hereto as Exhibit 1 is a copy of the Givaudan

Term Sheet dated January 23, 2024.




Dated:    January 24, 2024                             PACHULSKI STANG ZIEHL & JONES LLP

                                                       /s/ James E. O’Neill
                                                       Richard M. Pachulski (admitted pro hac vice)
                                                       Debra I. Grassgreen (admitted pro hac vice)
                                                       James E. O’Neill (DE Bar No. 4042]
                                                       Jason H. Rosell (admitted pro hac vice)
                                                       Steven W. Golden (DE Bar No. 6807]
                                                       919 N. Market Street, 17th Floor
                                                       P.O. Box 8705
                                                       Wilmington, DE 19899-8705 (Courier 19801]
                                                       Telephone: (302] 652-4100
                                                       Facsimile: (302] 652-4400
                                                       Email: rpachulski@pszjlaw.com
                                                               dgrassgreen@pszjlaw.com
                                                               joneill@pszjlaw.com
                                                               jrosell@pszjlaw.com
                                                               sgolden@pszjlaw.com

                                                       Counsel to the Debtors and Debtors in Possession



1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
    Suite 100, Emeryville, CA 94608.
